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                            UNITED STATES DISTRICT COURT

                           WESTERN DISTRICT OF LOUISIANA

                                 LAKE CHARLES DIVISION

AMERICAN PETROLEUM INSTITUTE, *                       CIVIL ACTION NO. 2:21-CV-2506
ET AL.
                              *                       JUDGE TERRY A. DOUGHTY
VERSUS
                              *                       MAG. JUDGE KATHLEEN KAY
UNITED STATES DEPARTMENT OF
THE INTERIOR; ET AL.          *


                      STIPULATION OF VOLUNTARY DISMISSAL

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(ii), all parties to this action stipulate

that Plaintiffs’ First Supplemental and Amended Complaint (Doc. 68) is hereby dismissed.

Dated: December 8, 2023                       Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the above and foregoing has been served on all counsel of

record via the Court’s electronic case management system on December 8, 2023.

                                            /s/ Kenneth H. Laborde
                                            KENNETH H. LABORDE




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